       Case 1:16-cr-10096-PBS Document 1150 Filed 09/26/18 Page 1 of 4


                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT CF MASSACHUSTTS


                                                                                     "•* 23
CHRISTCPHER WILKINS,                          §
              Movan t,                                                   first1" C/B^nfjAlS
                                                                                 CfSrfrtf'
                                              S             CIVIL NO.
                                                            (EeLated to Grim. No.
                                                                                  OFp%l
     V.




UNITED STATES OF AMERICA,
              Responcfenfe.


      memorandum in support 28 U.S.C. § 2255 MOTION TO VACATEjSET ASIDE,
                                    OR   CORRECT SENTENCE



     COMES NOW Christopher Wilkins, the Movan t in the above titled action,
moves this Honorable Court to vacate, set aside, or correct sentence pursuant

to § 2255, Movant respectfully submits that the series of events that trans
pired in Ihis case constitutes a direct denial of movan t's rights to effective
assistance of counsel, that is guarranted by the Sixth Amendnent; Therefore,

leading to a direct denial of his Due Process Rights guarranteed by the Fifth

Amendnen t.     Movan t will presen t evidence that counsel's deficien t performance

led to an adverse proceeding, in which he was convicted and unlawfully sentenced
                          1/
for a § 924(o) Count ; where the validity of the evidence was never questioned,
and was illegally obtained.          By introducing this evidence it will prove counsel's
ineffectiveness, and that being convicted of the Coun t 924(o) was unconstituti-
onal; therefore the sentence is otherwise subject to collateral attack.                A

vacation of the Count, i s the relief being sought, ot a t the very lea st an

evidentiary      hearing should be held to re-examine the uncferlying issues being

presented.

                         STATEMENT OF ISSUES UNDER CONSIDERATION


A)   FIFTH AMENDMENT DUE ERCCES ABRIDGEMENT:
      Case 1:16-cr-10096-PBS Document 1150 Filed 09/26/18 Page 2 of 4

     Movant's enhancement and conviction in light of the § 924(o)
(Conspiracy to possess a firearm) Count was obtained through counsel's lack

of die diligence, combined with bad legal advice; which in turn rencfer's
movant's plea not "Knowing or intelligentf'.    Counsel did not explain (in full-
cfetail) how the evidence required to convit movantwas obtained; nor did

Counsel challenge the admissability of the evidence govemmen't;presented.        In

Strickland v. Washington, 466 U.S. 668 the two prong test set forth to measure

counsel's effectiveness     or lack of, is wha t movan tmust demostrate to the

Honorable Distriet Court.     So we must take a look at the first prong (perfor
mance), counsel lack of knowledge, neglect, ot desire to research case law
pertenant to movant's case.     In this instance the court must conclude that when

they assign a defen<hnta counsel, that first , counsel is well versed in

criminal law in most areas, secondly is that counsel is in his fiduciary

capacity to represen t movan t to the fullest of his capabilities, and third,

counsel has acquired advance superior knowledge.     Now we must look at the Count

924(o) movant was convicted of and the elements required to convit movant of

the charge. JThe first element, govemment must establish is that movan t cons
pired and agreed to carry or use the firearm; The second is that it must be

during and in relation to the commission of a crime of violence, drug traffi

cking, and , further, committed an overt act in furtherance of the conspiracy.

The government presented evidence in the discovery that movan t was willing to

trade 10 grams of heroin for a .38 caliber firearm.     See Watson v. United States,

522 U.S. 74, 128 S.Ct. 579, 169 L.Ed.2d.     The Supreme Court held that a person

who trades drugs for guns does not "use" a firearm during and in relation to

a drug trafficking crime.     Here is counsel first strike at the performance prong,

and there will be more to come. Hhat logical counsel would let movan t plea out

to a 924(o) Count under the evidence that was presented in front of his eyes.
See Sentencing Transcripts pg's 1, and 18: Lines 1-11. The government;.'s
intEntion was very clear, mistaken but clear in lines 6-8 "in furtherance of a

                                        2
         Case 1:16-cr-10096-PBS Document 1150 Filed 09/26/18 Page 3 of 4

drug trafficking crime for which you      may be prosecuted in a court of the

United states to wit." Movant could not objec t to this because he is a lay
men to the law and is not fully cognitive of the phrases being used, and

what language there being used in.     The language used that is.key in un<fers-

tandlng the unlawful conviction      in fliis instance; for the purposes of 18

U.S.C. § 924 is the phrase "in furtherance of" this phrase demancfe a showing
of   a   sufficien t nexus   between the firearm advances or promotes the drug

crime.     See United states v. Ramirez-Rivera, 800 F.3d       (1st Cir.).   The

fact tha t movant. wasn' t allowed by law enforcement to purchase or trade drugs
for the firearm, and arrested Benjamin Roderick before the transaction could
happen further demonstrates a deficient performance by counsel.      The nexus

be tween the gun and conspiracy couldn't have existed because movant was not at
designated transaction location which shows lack of desire to acquire the

firearm.    The fact that counsel advised movant to plead out to the 924(o) Count
that he did not meet the requirements for, and was ^unconstitutional, and

movant was innocen t of is counsel hrid strike of the performance prong.         The...

right to be heard would be in many cases, of the little avail if it did not

comprehend the right to be heard by counsel.      Even the intelligent and educated

layman has small and sometimes no skill in the scienced of law.      It charged

with a crime, he is incapable, generally, of determinig for himself whether

the evidence or indictment is good or bad.      See Johnson v. Zerbot, 58 S.Ct.

1019, 304 U.S. 458.    So when measuring counsel's performance the courts must
examine all rea sonable factors and avenue s counsel used from arraignmen t to

sen tencing.

     Moving on the prejudice prong of the Strickland rule, movant must

semostrate that counsel's neglect and below sub par performance led to a

negative outcome, thus prejudiced further proceedings such      as sentencing and

PSR guidelines.    By pleading out to the 924(o) Count it enabled the government
        Case 1:16-cr-10096-PBS Document 1150 Filed 09/26/18 Page 4 of 4


to give movant a two point enhancement, thus raising his guidelines, and
as another after effect disqualifies movant from such BOP programs such as

RDAP.   By counsel never questioning the validity of the wire taps which were
used to obtain the 924(o) conviction, there has been more than a ripple effect;

that ha s wrongfully convic ted movan t in (hi s instance movan t is at lea st en litled
to redress and a evidentiary hearing, but movant seeks relief in this matter

before the Honorable Court.

                                                    Respectfully Submitted,



                                                 /s/
                                                     CHRISTOPHER WILKINS
                                                     Reg. No.:
                                                     U.S.?. Canaan
                                                     P.O. Box 300
                                                     Waymanrt, Pa 18472


FOOTNOTE:^'^:
     Movant is still waiting for wire tap warrants and discovery material
to fully challenge and demostrate movant*s claim.
